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 1   Thomas L. Simek (DC Bar #57268)
     Anthony C. Biagioli (MO Bar # 72434)
 2   Attorneys for Plaintiff
     COMMODITY FUTURES TRADING COMMISSION
 3   2600 Grand Boulevard, Suite 210
     Kansas City, MO 64108
 4   Telephone: (816) 960-7700
     tsimek@cftc.gov
 5   abiagioli@cftc.gov

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 8
                                  UNITED STATES DISTRICT COURT
 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
10

11                                                                  )
                                                                    )
12                                                                  )    CIVIL ACTION NO: 3:22-cv-05416-
                                                                    )    WHO
13       Commodity Futures Trading Commission,                      )
                                                                    )
14                                     Plaintiff,                   )    Hon. William H. Orrick
                                                                    )
15                                v.                                )
                                                                    )    CERTIFICATE OF SERVICE
16       Ooki DAO (formerly d/b/a bZx DAO), an                      )
         unincorporated association,                                )
17                                                                  )
                                       Defendant.                   )
18                                                                  )

19
              Pursuant to the Court’s Case Management Conference Order (“Order”) (ECF No. 14) 1,
20
     Plaintiff Commodity Futures Trading Commission (“Commission”) provides this Certificate of
21

22   Service certifying that it has served that Order on the Defendant Ooki DAO by submitting the

23   Order through the Ooki DAO’s Help Chat Box on the Ooki DAO’s website (ooki.com), with
24   contemporaneous notice of such service through the Ooki DAO’s Online Forum.
25

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27   1
                See Order ¶ 1(a) (“Plaintiffs shall serve copies of this Order at once on all parties to this action, and on any
     parties subsequently joined, in accordance with the provisions of Fed.R.Civ.P. 4 and 5. Following service, plaintiffs
28   shall file a certificate of service with the Clerk of this Court.”).
                                                                 -1-
                                                    CERTIFICATE OF SERVICE
      Case 3:22-cv-05416-WHO Document 15 Filed 09/28/22 Page 2 of 3



 1   Dated: September 28, 2022         Respectfully submitted,
 2                                     COMMODITY FUTURES TRADING
                                       COMMISSION
 3

 4
                                       By: /s/ Anthony C. Biagioli
 5                                     Tom Simek (DC Bar # 57268), tsimek@cftc.gov
                                       TRIAL COUNSEL
 6                                     Anthony C. Biagioli (MO Bar # 72434),
                                       abiagioli@cftc.gov
 7                                     Attorneys for Plaintiff
                                       COMMODITY FUTURES TRADING
 8                                     COMMISSION
                                       2600 Grand Boulevard, Suite 210
 9                                     Kansas City, MO 64108
                                       (816) 960-7700
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                                 CERTIFICATE OF SERVICE
      Case 3:22-cv-05416-WHO Document 15 Filed 09/28/22 Page 3 of 3



 1                                        Certificate of Service

 2          I hereby certify that on September 28, 2022, I caused a copy of the foregoing to be filed
 3   with the Clerk of the Court via the CM/ECF system as well as provided to the Defendant Ooki
 4
     DAO through the Ooki DAO’s Help Chat Box on the Ooki DAO website as well as by posting
 5
     notice of the foregoing to the Ooki DAO’s Online Forum.
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 7                                                                 /s/ Anthony C. Biagioli
 8                                                                 Counsel for Plaintiff

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                                          CERTIFICATE OF SERVICE
